                                Case 2:95-mj-00226-UA Document 3 Filed 02/01/95 Page 1 of 1 Page ID #:4



                                                                  U NITED STATES DISTRICT COU RT
                                                                 CEN TM L D ISTRICT OF CA LIFORN IA
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                    UNITED SIATES OF AM ERICA                                    )         Warrant Issued Case No.       , e'    -   )
                                                                                 )                     COM PLAINT      ,
                                                                                                                             /     ,
                                            vs.                                  )         Date        AFFID V . Filed
                                                                                 )         VIOLA
                                       z'                                        )         'Pape No.                   Date    /
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                           )                .
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                                        #                                            r                  '                     -
        D      uty Cler                              A ssistant U.S.A ttorney             lnterpreter
              D efendantarraigned.Infor ed of charge and rightto:rem ain silent;counsel;appointm entofcounsel,ifindigent;and
            :1 lim inary hearing. or rem ovalhearing/Rule 20.
              Defendant states true nam e: :! is as charged; (Zlis
            (!l efendant vised                  con quences offal                        mentin financialaffidavit.
                  ttorney:        .             9            /t..,-'        ETD , PN D: DFPD/PA NEL,S/A (L)Poss contrib ord.
                 Bailsetat / T#                         -'                  .-




                                        TYPE OF BOND                                                                 CONDITIONS OF RELEASE
              ED arsonalRecognizance                                                                 E7 PSA Supervision     I)Intensive
                 (Signatureonly-no dollaramount)                                                     C!Surrenderpassport
              :7 UnsKured Ap-amnceBond inamountof$                                                   ID Bailsubjectto Nebbiahearing
              (7)AppearanceBond in amountof$                                                         L)Travelrestricted to
                 7.
                  Zwilh cash dex sit(amountor *A)            -                                       I
                                                                                                     D Alcohol/Drug testing
                  (7
                   3 with affidavitofsurety(nojustification)(Form CR-4)                               C$ReleaseonlytoPSA
                  C)withjustifi
                              cati
                                 onaffidavitofsurety(Form CR-3)                                      (7)ResidenceapprovedbyPSA
                    Cland with dt*ding ofproperty                      or                            (71 No(possessfirearmsorbe in thepresence ofanyoneusing or
              EElCollateralBond in amountof5                                                             possessing firearms
                  (Cashornegotiablesecurities)                                                       L1Avoid placesofegress
              ED CorporateSurety Bond in amountof$                                                   ED Notillegallypse orpossessdrugsorbein thepresence
                 (Corporate Surely Bond requiresseparate form)                                          ofanyone illegally using orpossessing
              C1ReleaseNOW andjustify by                                             or              C2Other
                  appearbefore M agistrate
                  at       A M /PM on

      D efendant com m itted to custody of U.S.M arshal.      (
                                                              Z)Prelim inary hearing waived.
   :EIPrelim /H rg set for          .-           at4:30 P.M .Post/lndict Arrn set for                                                                      at8:30 A .M .
   C2 Court O RDERS               phone calls within 24 hours, forthwith,ASA P,as requested.
   EZICourt O RDERS m edicalabstract issued re:                                             .,                                                    .
                                                                                                                                                      .


   (ZlDefendant's m otion to dism iss for lack of probable cause'
                                                                . (   Z1DEN IED      .(!
                                                                                       1 GRA  NTED                        .

   EJ Defendantexecutes waiver of rem oval hearing and arrivalof process.                '.
   i
   zlProcess received. E3 Defendantexecutes Rule 20 consent form s.
   Q Cou.  rt O RDERS defendant Held to A nswer to             District of                                                        - - . - -               - -   .


      E3 Bond to transfer.D efendant to report on or before
      E1 W arrantof rem ovaland finalcom m itm entto issue.
'
 C C1 Case co inued t
        '
                                                     at       -       A /PM for
J22. OOth
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         er J     .
        N D PO STED :Date
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                                                                                     .Release o dered.
                                                                                                                       w w                                .. -
                                                                                                                                                                     ,
             Defendant's address and phone
                                                                                                             K
                                                                                                        Bv              . #
(2c(cc:AU SA                                                                                             -       eputy Clerk
